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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                          March 09, 2017
                                                                        David J. Bradley, Clerk
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


UNITED STATES OF AMERICA

v.                                                            Cr. No. H-17-8

LEONEL IVAN PORTILLO
WILLIAM ALEXANDER GUEVARA



                                    ORDER

        The Defendants' motion requesting that their respective plea agreements be

docketed under seal is GRANTED.



        SIGNED at Houston, Texas on    A"" cr            '2017.




                                                   QIS#fCTJUDGE
                                                 /l1~t~ -A-..t:
